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                           IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                           MEMORANDUM DECISION AND
                                                    ORDER GRANTING THE
                       Plaintiff,                   GOVERNMENT’S DEMAND FOR A
                                                    SPEEDY TRIAL AND MOTION TO
v.                                                  CONTINUE THE CURRENT TRIAL
                                                    DATE
LYLE STEED JEFFS, et al.,

                       Defendants.                  Case No. 2:16-CR-82 TS

                                                    District Judge Ted Stewart

       This matter is before the Court on the government’s Demand for a Speedy Trial and

Motion to Continue the Current Trial Date. 1 Defendants Lyle Steed Jeffs and Winford Johnson

Barlow have opposed the government’s Motion. 2 Certain other Defendants have joined those

oppositions.3 For the reasons discussed below, the Court will grant the Motion.

                                         I. BACKGROUND

       On February 17, 2016, the grand jury returned an Indictment against Defendants,

charging them with conspiracy to commit Supplemental Nutrition Assistance Program (“SNAP”)

benefits fraud and conspiracy to commit money laundering. 4 Between February 24, 2016, and

       1
           Docket No. 215.
       2
         Docket Nos. 218, 219. Without seeking leave of the Court, Defendants Kristal
Meldrum Dutson and Hyrum Bygnal Dutson both submitted responses after the deadline
imposed by the Court. Docket Nos. 222, 226. Those responses are substantially similar to the
response submitted by Defendant Winford Johnson Barlow. Because of this, the Court has
considered them. Had these responses raised any original arguments, they would have been
stricken. Further noncompliance with Court deadlines could result in sanctions.
       3
        Docket Nos. 220, 221, 223, 224, 225. Many of the joinders were also submitted after
the Court-imposed deadline.
       4
           Docket No. 1.

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March 2, 2016, Defendants made their initial appearances. The Court set this matter for a status

conference on March 22, 2016, and excluded all time under the Speedy Trial from the date of the

initial appearances to the status conference. 5

        On March 22, 2016, the Magistrate Judge set this matter for trial to begin on May 31,

2016, within the seventy-day period required by the Speedy Trial Act. The Magistrate Judge

also set a status conference before this Court on April 27, 2016. At the April 27, 2016 status

conference, the government indicated that it would seek a continuance of the trial date. On May

16, 2016, the government filed the instant Motion.

        The government’s Motion details the efforts that have been made to compile and produce

the voluminous discovery in this case. The Declaration of Chris Andersen, a Special Agent for

the Federal Bureau of Investigation, sets out the actions taken by the FBI. He states, in pertinent

part:

        Since the arrests in this matter, significant, additional resources have been
        expended to fulfill the government’s obligation in producing the evidence to the
        defense. The investigative team has allocated the time of seven full-time
        investigators and between three and five part-time employees to assist with this
        effort. Additionally there are two Special Agents of the Federal Bureau of
        Investigation who are part of the taint team for the records obtained from the
        search warrant at the Meadowayne Dairy, and there have been one to two persons
        at a time, assigned to help with digital computer and video evidence at the
        computer forensics lab. In order to meet discovery requirements, the investigative
        team has exerted extensive hours, many times requiring work hours which
        extended into nights and weekends. Since the arrests in February 2016, there
        have been multiple weeks that investigators worked a hundred or more hours. In
        all, it is estimated that the investigative team has spent between 1600 and 2000
        hours preparing evidence for discovery. 6



        5
            Docket No. 89.
        6
            Docket No. 215 Ex. 2 ¶ 3.

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       Special Agent Andersen’s Declaration also highlights some of the difficulties involved in

compiling the discovery and the efforts the FBI has taken to simplify the evidence for defense

counsel.

       The Declaration of Erica Arvizo, a paralegal with the United States Attorney’s Office,

similarly details the scope of the discovery and the efforts the government has made to provide

that discovery to defense counsel. The relevant portions of Ms. Arvizo’s declaration state:

       6.      On March 21, 2016, I produced a bluray disc containing all investigative
       reports that had been prepared to date in PDF format to all defense counsel in this
       case.
       7.      On April 15, 2016, I produced the following: (24) 2TB hard drives, (89)
       native discs (for a total of 979 discs), an IPRO database containing 36,371 pages
       of organized discovery, and three indexes. (Twenty-three of the above-listed hard
       drives were only provided to the Legal Defenders office due to the large volume
       of hardware.)
       8.      On April 27, 2016, I produced an updated comprehensive IPRO database
       which included an additional 12,204 pages of organized discovery, as well as an
       index to assist defense with identifying the source of the documents. 7

       As stated by the government at the April 27, 2016 status conference, more discovery will

yet be turned over. The government continues to process and produce discovery as expeditiously

as possible. 8 The FBI states that it will “have all material turned over to the United States

Attorney’s Office in advance of the May 30th discovery deadline.” 9




       7
           Id. Ex. 3 ¶¶ 6–8.
       8
           Id. ¶ 9.
       9
           Id. Ex. 2 ¶ 8.

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                                         II. DISCUSSION

       The Speedy Trial Act requires “that a criminal trial commence within seventy days of the

filing of the indictment or information or the defendant’s appearance, whichever occurs last.” 10

Certain periods of delay are excluded from computation under the Act. Relevant here, 18 U.S.C.

§ 3161(h)(7)(A) excludes

       [a]ny period of delay resulting from a continuance granted by any judge . . . at the
       request of the attorney for the Government, if the judge granted such continuance
       on the basis of his findings that the ends of justice served by taking such action
       outweigh the best interest of the public and the defendant in a speedy trial. 11

In making such a finding, the Court must set “forth, in the record of the case, either orally or in

writing, its reasons for finding that the ends of justice served by the granting of such continuance

outweigh the best interests of the public and the defendant in a speedy trial.” 12

       Section 3161(h)(7)(B) sets out the factors the Court is to consider in making this

determination:

       (i) Whether the failure to grant such a continuance in the proceeding would be
       likely to make a continuation of such proceeding impossible, or result in a
       miscarriage of justice.
       (ii) Whether the case is so unusual or so complex, due to the number of
       defendants, the nature of the prosecution, or the existence of novel questions of
       fact or law, that it is unreasonable to expect adequate preparation for pretrial
       proceedings or for the trial itself within the time limits established by this section.
       (iii) Whether, in a case in which arrest precedes indictment, delay in the filing of
       the indictment is caused because the arrest occurs at a time such that it is

       10
           United States v. Toombs, 574 F.3d 1262, 1268 (10th Cir. 2009); see also 18 U.S.C. §
3161(c)(1) (“In any case in which a plea of not guilty is entered, the trial of a defendant charged
in an information or indictment with the commission of an offense shall commence within
seventy days from the filing date (and making public) of the information or indictment, or from
the date the defendant has appeared before a judicial officer of the court in which such charge is
pending, whichever date last occurs. . . .”).
       11
            18 U.S.C. § 3161(h)(7)(A).
       12
            Id.

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        unreasonable to expect return and filing of the indictment within the period
        specified in section 3161(b), or because the facts upon which the grand jury must
        base its determination are unusual or complex.
        (iv) Whether the failure to grant such a continuance in a case which, taken as a
        whole, is not so unusual or so complex as to fall within clause (ii), would deny the
        defendant reasonable time to obtain counsel, would unreasonably deny the
        defendant or the Government continuity of counsel, or would deny counsel for the
        defendant or the attorney for the Government the reasonable time necessary for
        effective preparation, taking into account the exercise of due diligence. 13

        The Tenth Circuit has stated that the ends-of-justice exception “‘was meant to be a rarely

used tool for those cases demanding more flexible treatment.’” 14 “Accordingly, ‘ends-of-justice

continuances should not be granted cavalierly.’” 15

        Considering the above-listed factors, the Court finds “that the ends of justice served by

[granting the government’s Motion] outweigh the best interest of the public and the defendant in

a speedy trial.” 16 Specifically, the Court concludes that “the failure to grant such a continuance

in the proceeding would be likely to make a continuation of such proceeding impossible, or

result in a miscarriage of justice.” 17 Further, the Court finds that “the case is so unusual or so

complex, due to the number of defendants, the nature of the prosecution, or the existence of

novel questions of fact or law, that it is unreasonable to expect adequate preparation for pretrial

proceedings or for the trial itself within the time limits established by this section.” 18



        13
             Id. § 3161(h)(7)(B).
        14
         Toombs, 574 F.3d at 1269 (citing United States v. Doran, 882 F.2d 1511, 1515 (10th
Cir. 1989)).
        15
          United States v. Larson, 627 F.3d 1198, 1203 (10th Cir. 2010) (quoting United States
v. Williams, 511 F.3d 1044, 1049 (10th Cir. 2007)).
        16
             18 U.S.C. § 3161(h)(7)(A).
        17
             Id. § 3161(h)(7)(B)(i).
        18
             Id. § 3161(h)(7)(B)(ii).

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       This is a complex case. This case involves the prosecution of a large number of

Defendants and involves an enormous amount of discovery. As set forth above, the government

has produced a large amount of discovery and continues to produce discovery. Additional time

is required for all parties to sufficiently review and evaluate that material. Even Defendants

admit that it is unreasonable to expect them to “process, review, and evaluate that evidence in

preparation for trial in such a short-time frame.” 19 Defendant Winford Johnson Barlow has gone

so far as to argue that, if this case is not dismissed, the Court should move the trial date to May

2017 to allow adequate time for preparation. Defendants Kristal Meldrum Dutson and Hyrum

Bygnal Dutson have joined in this request. Given the voluminous discovery, the Court finds that

requiring the parties to go to trial as scheduled would be impossible and would result in a

miscarriage of justice. For this same reason, the Court finds that it is unreasonable to expect

adequate preparation for pretrial proceedings or for the trial within the time limits set out in the

Speedy Trial Act.

       This case also involves novel questions of law. It is anticipated that Defendants will raise

constitutional challenges to their prosecution. The government has tried to address those issues

through the filing of their motion in limine. In response to that motion, Defendants argued that

“[u]ntil the discovery process is complete, the defendants cannot respond to the Motion in

Limine in a way that will be helpful to the Court.” 20 To date, Defendants have failed to provide

any substantive response to the government’s motion in limine. Thus, additional time is required

to address the novel issues of constitutional, statutory, and regulatory law presented by this case.


       19
            Docket No. 218, at 4; Docket No. 222, at 4; Docket No. 226, at 4.
       20
            Docket No. 193, at 4.

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       18 U.S.C. § 3161(h)(7)(C) provides that “[n]o continuance under subparagraph (A) of

this paragraph shall be granted because of general congestion of the court’s calendar, or lack of

diligent preparation or failure to obtain available witnesses on the part of the attorney for the

Government.” Defendant Lyle Steed Jeffs argues that “[t]he government . . . relies upon the

congestion of the Court’s calendar in making its request to delay the trial until the month of

October, 2016.” 21 This is not an accurate reflection of the government’s Motion. The

government’s Motion states that it understands “that the court could accommodate a lengthy trial

during the month of October.” 22 The government suggested the October date because it “would

give defendants sufficient time to prepare for trial, yet also meet the interests of the public and

the defendants in a speedy trial.” 23 The government’s Motion does not state that a continuance is

required because of congestion of the Court’s calendar. Any such statement would be untrue.

The Court is willing and able to provide a trial date at the parties’ earliest convenience, including

the current trial setting. Merely because the Court can accommodate a lengthy trial in October

does not mean that the Court cannot accommodate this trial at an earlier date. However, for the

reasons discussed above, the Court finds that the current trial setting is untenable.

       Most of Defendants’ arguments in opposition to the government’s Motion turn on the

alleged “lack of diligent preparation . . . on the part of the attorney for the Government.” 24

Having reviewed the government’s submission, the Court cannot find a lack of diligent

preparation. Instead, the Court finds that the government has gone to considerable lengths to

       21
            Docket No. 219, at 2.
       22
            Docket No. 215, at 7.
       23
            Docket No. 227, at 5.
       24
            18 U.S.C. § 3161(h)(7)(C).

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prepare for trial and to provide Defendants the discovery needed for them to make adequate trial

preparations. While it may have been preferable for the government to have done more sooner,

the government represents that it is ready to proceed to trial. No Defendant has been able to

make such a representation. While Defendants argue against the government’s request for a

continuance, the plain language of the Speedy Trial Act contemplates requests for continuances

from the government in complex cases, such as this.

       Defendants further argue that the case should be dismissed for violation of the Speedy

Trial Act. 18 U.S.C. § 3162(a)(2) states: “If a defendant is not brought to trial within the time

limit required by section 3161(c) as extended by section 3161(h), the information or indictment

shall be dismissed on motion of the defendant.” 25 There has been no violation of the Speedy

Trial Act to date. Further, as set forth above, the Court finds adequate grounds to continue this

matter and exclude time under the Speedy Trial Act. Thus, there is no basis for dismissal under

the Act. 26 If Defendants believe they have other legitimate grounds for dismissal, they should

file an appropriate motion. The Court declines to deal with such a weighty issue in the context

of the instant Motion.

       Defendants Lyle Steed Jeffs and Winford Johnson Barlow also object to the proposed

October trial date based on scheduling conflicts. While the Court is sympathetic, the Court must

       25
            Id. § 3162(a)(2).
       26
           Even if dismissal was required, Defendants have not provided a sufficient basis for
their request for dismissal with prejudice. Defendants have provided no analysis of the statutory
factors set out in 18 U.S.C. § 3162(a)(2). Further, the Court would note that “[d]ismissals with
prejudice ‘should be reserved for more egregious violations’ of the Speedy Trial Act.” Larson,
627 F.3d at 1211 (quoting United States v. Abdush-Shakur, 465 F.3d 458, 462 (10th Cir. 2006));
see also United States v. Cano-Silva, 402 F.3d 1031, 1035 (10th Cir. 2005) (“The fact that a
violation has taken place is not alone sufficient for the application of the more severe sanction of
dismissal with prejudice, which should be reserved for more egregious violations.”).

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consider the interest the other co-Defendants and the public have in a speedy trial. Based on

their failure to bring the issue to the Court’s attention, it appears that the vast majority of defense

counsel have no conflict with the proposed October trial date. Thus, the Court declines to adjust

the October trial setting suggested by the government at this time. Should counsel seek a

continuance based on a scheduling conflict, they will need to file a properly supported motion.

       Defendants Winford Johnson Barlow, Kristal Meldrum Dutson, and Hyrum Bygnal

Dutson argue that, if this case is not dismissed, a continuance to October will be insufficient for

adequate preparation. These Defendants request a continuance until May 2017, but have not

provided the Court with sufficient information to continue the trial date that far. Without further

information, the Court declines to continue the trial for a year. Again, based on their silence on

this point, the Court must presume that counsel for the other Defendants believe they could

adequately prepare for trial in October. Should Defendants want a continuance beyond October,

they must file a properly supported motion explaining their reasoning for such a lengthy delay.

       Finally, Defendants make arguments concerning detention (Lyle Steed Jeffs) and release

(Winford Johnson Barlow and Hyrum Bygnal Dutson). Should Defendant Jeffs seek

reconsideration of the Court’s order of detention, he may file a motion to do so. The statements

made by the government at the detention hearing before the Magistrate Judge do not alter the

Court’s analysis with regard to the instant Motion. Should Defendants Barlow and Dutson seek

to amend their conditions of pretrial release, they too should file a motion. A response to a

motion to continue is not the proper place to raise these issues.




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                                        III. CONCLUSION

       It is therefore

       ORDERED that the government’s Demand for a Speedy Trial and Motion to Continue

the Current Trial Date (Docket No. 215) is GRANTED. The trial currently set for May 31, 2016,

is continued to October 3, 2016.

       For the reasons set forth above, the Court finds that the ends of justice served by granting

the government’s Motion outweigh the best interest of the public and the defendant in a speedy

trial. Specifically, the Court finds that the failure to grant a continuance would be likely to make

a continuation of such proceeding impossible, or result in a miscarriage of justice. Additionally,

the Court finds that this case is so unusual or so complex, due to the number of defendants, the

nature of the prosecution, or the existence of novel questions of fact or law, that it is

unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself within

the time limits established by the Speedy Trial Act. Thus, the time from the filing of the

Motion—May 16, 2016—to the new trial date—October 3, 2016—is excluded from computation

under the Speedy Trial Act.

       Additionally, the Court establishes the following deadlines:

       As previously ordered, discovery is to be provided by May 31, 2016.

       Responses to the government’s Motion in Limine (Docket No. 185) are due by July 1,
       2016.

       All pretrial motions are due by July 15, 2016.

       A final pretrial conference is set for September 19, 2016, at 9:00 a.m.

       Proposed jury instructions, proposed verdict form, requests for voir dire, trial briefs, and
       motions in limine are also due on September 19, 2016.


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     DATED this 23rd day of May, 2016.

                                         BY THE COURT:



                                         Ted Stewart
                                         United States District Judge




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